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TUCKER ELLIS LLP




                                                                                                             Attorneys for Plaintiffs,
                                                                                                        14   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                                                        15
                                                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                             FACEBOOK, INC. and INSTAGRAM, LLC,             Case No. 3:19-cv-07071-SI
                                                                                                        18
                                                                                                                                  Plaintiffs,               DECLARATION OF DAVID J. STEELE IN
                                                                                                        19                                                  SUPPORT OF PLAINTIFFS’ MOTION TO
                                                                                                                    v.                                      STRIKE DEFENDANTS’ ANSWER AND FOR
                                                                                                        20                                                  DEFAULT JUDGMENT
                                                                                                             ONLINENIC INC.; DOMAIN ID SHIELD
                                                                                                        21   SERVICE CO., LIMITED; and XIAMEN               DATE: November 19, 2021
                                                                                                             35.COM INTERNET TECHNOLOGY CO.,                TIME: 10:00 a.m.
                                                                                                        22   LTD.,                                          CTRM: 1 – 17th Floor

                                                                                                        23                        Defendants.               Hon. Susan Illston

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                                                                                                                                                                                 DECLARATION OF DAVID J. STEELE
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                                                                                                         1           I, David J. Steele, declare as follows:

                                                                                                         2           1.      I am a partner at Tucker Ellis LLP, attorneys of record for Plaintiffs in this action. I make

                                                                                                         3   this declaration based on my personal knowledge and, if called as a witness, would testify competently to

                                                                                                         4   each of the following facts.

                                                                                                         5           2.      As of June 30, 2021, Plaintiffs incurred $2,057,782.17 in attorneys’ fees charged by my

                                                                                                         6   firm in connection with this action. A table detailing these fees is presented below.

                                                                                                         7

                                                                                                         8                             Task                                      Amount
                                                                                                         9
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                                                                                                                 Investigation, strategy and trial preparation                           $334,355.70
                                                                                                        10       Pleadings                                                               $246,787.68
                                                                                                        11       Plaintiffs’ discovery and related disputes                              $946,692.31
                                                                                                        12       Defendants’ discovery and expert testimony                              $400,347.61
                                                                                                        13
TUCKER ELLIS LLP




                                                                                                                 Motions                                                                  $42,968.05
                                                                                                        14
                                                                                                                 Settlement and mediation                                                 $86,630.82
                                                                                                        15
                                                                                                                 Total                                                                 $2,057,782.17
                                                                                                        16

                                                                                                        17           3.      Twelve attorneys, two paralegals and one technical staff member billed in this litigation.

                                                                                                        18           4.      The vast majority of attorney time (3,448 hours) was billed by eight attorneys: David J.

                                                                                                        19   Steele, Steven E. Lauridsen, Howard A. Kroll, Bart L. Kessel, Helena M. Guye, Nicholas V. Janizeh,

                                                                                                        20   Stephanie A. Rzepka, and Faustina Lee. In total, these attorneys billed $2,010,789 in this matter with an

                                                                                                        21   overall effective rate of $586 per hour.

                                                                                                        22           5.      The paralegals were Anna M. Hayden and Stacey A. Sautter, with the majority of time

                                                                                                        23   billed by Ms. Hayden.

                                                                                                        24           6.      I graduated from Loyola Law School and have approximately 21 years of intellectual

                                                                                                        25   property litigation experience. For 20 years, I have been a Professor at Loyola Law School where I have

                                                                                                        26   taught Trademark Law and Internet Law. I billed 880 hours in this matter at an effective rate of $685 per

                                                                                                        27   hour.

                                                                                                        28           7.      Steven E. Lauridsen is Counsel at Tucker Ellis LLP. Mr. Lauridsen graduated from the

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                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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                                                                                                         1   University of Southern California School of Law and has approximately 15 years of intellectual property

                                                                                                         2   litigation experience. Mr. Lauridsen billed 932 hours in this matter at an effective rate of $590 per hour.

                                                                                                         3          8.      Howard A. Kroll is a Partner at Tucker Ellis LLP. Mr. Kroll graduated from the University

                                                                                                         4   of Southern California School of Law and has approximately 40 years of litigation experience and over

                                                                                                         5   25 years of intellectual property litigation experience. Mr. Kroll billed 651 hours in this matter at an

                                                                                                         6   effective rates of $715 per hour in 2019, $710 per hour in 2020, and $705 per hour in 2021.

                                                                                                         7          9.      Bart L. Kessel is a Partner at Tucker Ellis LLP. Mr. Kessel graduated from the University

                                                                                                         8   of California Davis School of Law and has approximately 35 years of litigation experience. Mr. Kessel

                                                                                                         9   billed 451 hours in this matter at an effective rates of $620 per hour in in 2020, and $600 per hour in 2021.
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                                                                                                        10          10.     Helena M. Guye is an Associate at Tucker Ellis LLP. Ms. Guye graduated from the

                                                                                                        11   University of Missouri, Columbia School of Law and has approximately 1 years of litigation experience.

                                                                                                        12   Ms. Guye billed 339 hours in this matter at an effective rate of $175 per hour.

                                                                                                        13          11.     Nicholas V. Janizeh is an Associate at Tucker Ellis LLP. Mr. Janizeh graduated from the
TUCKER ELLIS LLP




                                                                                                        14   University of Southern California School of Law and has approximately 6 years of litigation experience.

                                                                                                        15   Mr. Janizeh billed 91 hours in this matter at an effective rate of $360 per hour.

                                                                                                        16          12.     Stephanie A. Rzepka is an Associate at Tucker Ellis LLP. Ms. Rzepka graduated from the

                                                                                                        17   University of Texas at Austin School of Law and has approximately 7 years of litigation experience. Ms.

                                                                                                        18   Rzepka billed 67 hours at an effective rate of $280 per hour.

                                                                                                        19          13.     Faustina Lee is Counsel at Tucker Ellis LLP. Ms. Lee graduated from University of

                                                                                                        20   Southern California School of Law and has approximately 11 years of litigation experience. Ms. Lee billed

                                                                                                        21   37 hours for this matter at an effective rate of $540 per hour in in 2020, and $515 per hour in 2021.

                                                                                                        22          14.     Anna M. Hayden is a Paralegal at Tucker Ellis LLP. Ms. Hayden has 21 years of experience

                                                                                                        23   working as a paralegal. Ms. Hayden billed 45 hours in this action at an effective rate of $250 per hour.

                                                                                                        24          15.     Portions of the AIPLA 2019 Report of the Economic Survey published by the American

                                                                                                        25   Intellectual Property Law Association listing rates for intellectual property cases in the San Francisco area

                                                                                                        26   are attached as Exhibit 1.

                                                                                                        27          16.     Additionally, as of June 30, 2021, Plaintiffs have incurred costs in connection with this

                                                                                                        28   action. A table detailing these costs is presented below.

                                                                                                                                                                  3
                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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                                                                                                         2                                    Cost                                     Amount
                                                                                                         3               Court costs                                                               $1,030.50
                                                                                                         4               Courier services                                                          $3,252.67
                                                                                                         5
                                                                                                                         Expert services                                                          $26,575.00
                                                                                                         6
                                                                                                                         Special Master services                                                  $23,569.07
                                                                                                         7
                                                                                                                         Discovery services                                                        $8,342.50
                                                                                                         8
                                                                                                                         Travel                                                                    $1,415.63
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                                                                                                                         Total                                                                   $153,122.37
                                                                                                        10

                                                                                                        11          I declare under penalty of perjury under the laws of the United States of America that the foregoing
                                                                                                        12   is true and correct and that this declaration was executed on July 13, 2021 in Fullerton, California.
                                                                                                        13                                                                 /s/ David J. Steele
TUCKER ELLIS LLP




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                                                                                                                                                                                    DECLARATION OF DAVID J. STEELE
                                                                                                                                                                                           CASE NO. 3:19-CV-07071-SI
